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                        IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF UTAH, NORTHERN DIVISION

 Tammy Shelton,                                   Case No.: 1:17-cv-00103-DAK-PMW

                Plaintiff,
                                                   STIPULATION FOR DISMISSAL WITH
 v.
                                                             PREJUDICE

 Chipotle Mexican Grill,
                                                  Assigned to: Judge Dale A. Kimball
                Defendant.                        Referred to: Magistrate Judge Paul M. Warner


       PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii),

Plaintiff, Tammy Shelton and Defendant, Chipotle Mexican Grill, hereby stipulate that the above-

entitled Action be dismissed with prejudice, with each side to bear its own fees’ and costs.


       RESPECTFULLY submitted on this 18th day of April 2018.



                                                 /s/ Kathleen J. Mowry (with permission)
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                                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 18th day of April 2018, I electronically transmitted the
foregoing document to the Clerk’s Office using the CM/ECF system for filing and transmittal of
a Notice of Electronic filing to be served upon all e-filing counsel of record as follows:


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/s/ Lisa Stamper*
(* I certify that I have the signed original of this document
which is available for inspection during normal business
hours by the Court or a party to this action)




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